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                           THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


STEVE C., KELLY W., JANE DOE,                         CLASS ACTION COMPLAINT
individually and on behalf of all others
similarly situated,

                Plaintiffs,

vs.

BLUE CROSS AND BLUE SHIELD OF
MASSACHUSETTS, INC.,

                Defendant.


         Plaintiffs Steve C. (“Steve”), Kelly W. (“Kelly”), and Jane Doe (“Jane”) (collectively

“Plaintiffs”), individually and as representatives of the class of similarly situated individuals,

complain and allege against Defendant Blue Cross and Blue Shield of Massachusetts, Inc.

(“BCBSMA”) as follows:

                              PARTIES, JURISDICTION AND VENUE

      1. Plaintiffs Steve, Kelly, and Jane are natural persons residing in Norfolk County,

         Massachusetts and are citizens of the Commonwealth of Massachusetts. Steve and Kelly

         are Jane’s parents.

      2. Defendant BCBSMA is an insurance company existing under the laws of the

         Commonwealth of Massachusetts headquartered in Boston, Suffolk County,

         Massachusetts, and was the insurer and claims administrator for the health plan providing

         healthcare coverage for Steve, Kelly and Jane (“the Plan”) during the treatment that is the

         subject of this litigation.




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3. The Plan is a fully-insured employee welfare benefits plan under 29 U.S.C. §1001 et.

   seq., the Employee Retirement Income Security Act of 1974 (“ERISA”). Steve and Kelly

   were participants in the Plan and Jane was a beneficiary of the Plan at all relevant times.

4. Jane received medical care and treatment at La Europa Academy (“La Europa”). La

   Europa is a licensed residential treatment center in Utah that provides inpatient treatment

   to adolescent girls with mental health, behavioral, or substance abuse challenges.

5. BCBSMA improperly denied claims for payment of Jane’s medical expenses in

   connection with her treatment at La Europa.

6. This Court has jurisdiction over this case under 29 U.S.C. §1132(e)(1) and 28 U.S.C.

   §1331.

7. Venue is appropriate under 29 U.S.C. §1132(e) (2) and 28 U.S.C. §1391(c) based on

   ERISA’s nationwide service of process and venue provisions, and because BCBSMA is

   headquartered in Massachusetts, and the Plaintiffs reside in the Commonwealth of

   Massachusetts.

8. BCBSMA is one of the largest health insurers in the United States. It provides group

   health insurance coverage and acts as an administrator of health insurance policies for

   thousands of insureds.

                               NATURE OF THE CASE

9. This action is brought to correct BCBSMA’s systematic denial of payment of claims for

   inpatient intermediate mental health residential treatment for mental health disorders in

   violation of the terms of its insurance policies and the self-funded medical benefits plans




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       it administers (“Class Policies”).1 BCBSMA’s Class Policies state that it pays for

       “intermediate” inpatient treatment for mental health and substance use disorders, which

       “may include, (but is not limited to)…acute residential treatment.” However, its

       interpretation of this language is to exclude any and all residential treatment other than

       what BCBSMA characterizes as “acute residential treatment.” This violates the plain

       language of the Class Policies as well as the federal Mental Health Parity and Addiction

       Equity Act of 2008 (“MHPAEA”). BCBSMA’s action is an impermissible

       nonquantitative treatment limitation on mental health and substance use disorders that has

       no counterpart in the limitations to coverage BCBSMA imposes for intermediate

       inpatient treatment of medical/surgical conditions such as inpatient skilled nursing

       facility stays, rehabilitation hospitals, and hospice care.

          FACTUAL BACKGROUND AND RELEVANT POLICY LANGUAGE

    10. Residential treatment is an intermediate level of inpatient mental health and substance use

       disorder treatment commonly provided to adolescents, whose conditions do not present

       an imminent threat to themselves or others to the degree that acute inpatient
1
 In accordance with the class definitions below, the term Class Policies as used herein refers to
BCBSMA policies that contain this same or similar language (which includes Plaintiffs’ policy
under the Plan):

               Intermediate Treatments
               There may be times when you will need medically necessary care that is more
               intensive than typical outpatient care. But, you do not need 24-hour inpatient
               hospital care. This “intermediate” care may include (but is not limited to):
                    Acute residential treatment. Your coverage for this treatment is considered
                       to be an inpatient benefit. During the inpatient pre-service review process
                       (see Part 4), Blue Cross Blue Shield HMO Blue will assess your specific
                       health care needs. The least intensive type of setting that is required for
                       your mental condition will be approved by Blue Cross Blue Shield HMO
                       Blue.
                    Partial hospital programs or intensive outpatient programs. Your coverage
                       for these programs is considered to be an outpatient benefit.


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         hospitalization is required, but who still require medically necessary inpatient care in

         order to treat their illnesses.

      11. Residential treatment facilities are specialized programs subject to licensing standards by

         the states in which they are located. Residential treatment facilities are well accepted

         within the mental health and substance use disorder community as providing medically

         necessary inpatient treatment at an “intermediate” level.

      12. BCBSMA’s Class Policies provide coverage for inpatient intermediate residential

         treatment of mental health and substance use disorders. However, BCBSMA interprets

         the language of the Class Policies in a way that improperly limits that coverage to only

         what it characterizes as “acute residential treatment” to the exclusion of sub-acute

         residential treatment that is medically necessary.

      13. The section of the Class Policies titled “Intermediate Treatments” states:2

                 Intermediate Treatments
                 There may be times when you will need medically necessary care that is more
                 intensive than typical outpatient care. But, you do not need 24-hour inpatient
                 hospital care. This “intermediate” care may include (but is not limited to):
                      Acute residential treatment. Your coverage for this treatment is considered
                         to be an inpatient benefit. During the inpatient pre-service review process
                         (see Part 4), Blue Cross Blue Shield HMO Blue will assess your specific
                         health care needs. The least intensive type of setting that is required for
                         your mental condition will be approved by Blue Cross Blue Shield HMO
                         Blue.
                      Partial hospital programs or intensive outpatient programs. Your coverage
                         for these programs is considered to be an outpatient benefit.
                 If you would normally pay a copayment for inpatient or outpatient benefits, the
                 copayment will be waived when you get covered intermediate care. But, you must
                 still pay your deductible and/or coinsurance, whichever applies.
      14. BCBSMA offers comparable intermediate level care coverage for medical/surgical

         treatment analogous to the sub-acute level of care offered in residential treatment


2
    Italicized words are defined terms under the plan document.


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   facilities for mental health and substance use disorders. Under the same Covered Services

   section of the plan document, BCBSMA lists the requirements for treatment in a

   Rehabilitation Hospital or Skilled Nursing Facility. It states:

           Rehabilitation Hospital Admissions
           You and your health care provider must receive approval from Blue Cross Blue
           Shield HMO Blue as outlined in this Subscriber Certificate before you enter a
           rehabilitation hospital for inpatient care. Blue Cross Blue Shield HMO Blue will
           let you and your health care provider know when your coverage is approved (See
           Part 4.) When inpatient care is approved by Blue Cross Blue Shield HMO Blue,
           this health plan provides coverage only until you reach your benefit limit. The
           Schedule of Benefits for your plan option describes the benefit limit that applies
           for these covered services. (Also refer to riders –if there are any–that apply to
           your coverage in this health plan.) Once you reach this benefit limit, no more
           benefits will be provided for these services. This is the case whether or not the
           care is medically necessary. (Whether or not your plan option has a benefit limit
           for these services, coverage is provided only for those services that are
           determined by Blue Cross Blue Shield HMO Blue to be medically necessary for
           you.) This coverage includes: semiprivate room and board and special services
           furnished for you by the hospital; and medical care furnished for you by a
           physician or by a nurse practitioner.

           Skilled Nursing Facility Admissions
           You and your health care provider must receive approval from Blue Cross Blue
           Shield HMO Blue as outlined in this Subscriber Certificate before you enter a
           skilled nursing facility for inpatient care. Blue Cross Blue Shield HMO Blue will
           let you and your health care provider know when your coverage is approved (See
           Part 4.) When inpatient care is approved by Blue Cross Blue Shield HMO Blue,
           this health plan provides coverage only until you reach your benefit limit. The
           Schedule of Benefits for your plan option describes the benefit limit that applies
           for these covered services. (Also refer to riders –if there are any–that apply to
           your coverage in this health plan.) Once you reach this benefit limit, no more
           benefits will be provided for these services. This is the case whether or not the
           care is medically necessary. (Whether or not your plan option has a benefit limit
           for these services, coverage is provided only for those services that are
           determined by Blue Cross Blue Shield HMO Blue to be medically necessary for
           you.) This coverage includes: semiprivate room and board and special services
           furnished for you by the facility; and medical care furnished for you by a
           physician or by a nurse practitioner.

15. Although treatment at skilled nursing facilities, rehabilitation hospitals, and mental health

   residential treatment facilities is covered under the plan document, only in the case of




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   residential mental health treatment facilities does BCBSMA limit coverage to “acute

   residential treatment.”


16. The effect of BCBSMA’s overly restrictive interpretation of the “Intermediate

   Treatments” language of the plan document relating to mental health disorders is to

   routinely deny all mental health residential treatment claims that it deems as not “acute”

   irrespective of medical necessity. This is contrary to the definition of “medically

   necessary” treatment and generally accepted standard of professional medical practice. It

   is also contrary to the express language of the “Intermediate Treatments” clause of the

   plan document that states coverage for intermediate mental health and substance use

   disorder treatment “may include (but is not limited to) . . . [a]cute residential treatment.”

17. This case seeks to correct the systemic practice employed by BCBSMA of denying or

   limiting inpatient intermediate mental health residential treatment by asserting that the

   Class Policies only cover “acute residential treatment” when that practice (1) is not

   permitted under the language of the Class Policies and (2) violates the requirements of

   MHPAEA since no equivalent restriction is placed on intermediate levels of non-mental

   health treatment such as inpatient stays at skilled nursing facilities or rehabilitation

   facilities.

      FACTS REGARDING JANE’S RESIDENTIAL TREATMENT CLAIM

18. Jane struggled with regulating her emotions from the time she was a young child.

19. She struggled with anxiety, tantrums, and was easily overwhelmed.

20. As she grew older she began to see Dr. Meghan Cuff, a psychologist, who diagnosed her

   with depression, anxiety, and obsessive-compulsive disorder (“OCD”), among other

   mental health disorders.



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21. When Jane started high school her anxiety and OCD behaviors increased. She began to

   isolate herself in her bedroom and withdraw from her family.

22. Notwithstanding treatment on an intensive outpatient basis from a variety of providers,

   Jane’s symptoms of depression, anxiety, and OCD became more serious in early 2015.

   She experienced suicidal ideation and began cutting herself.

23. In the Fall of 2015 she began to refuse to take her medications and her depression and

   anxiety increased.

24. Despite intensive efforts to stabilize her condition, Jane’s condition continued to

   deteriorate. Jane’s health care providers helped Steve and Kelly identify La Europa as a

   residential treatment center that would be a good match for Jane’s 24 hour a day

   residential treatment needs.

25. When Steve and Kelly informed Jane of their decision to have her admitted to La Europa,

   she attempted suicide by ingesting a handful of anti-depressants she had been hiding in

   her room. After being stabilized over several days at a hospital in the Commonwealth of

   Massachusetts, and on the advice of her treatment team she was transported with an

   escort to La Europa and was admitted on February 26, 2016.

26. Steve and Kelly submitted claims for Jane’s treatment at La Europa, and initially

   BCBSMA agreed to pay the first sixteen days of her treatment. However, for treatment

   provided after March 14, 2016, BCBSMA denied coverage asserting that Jane’s

   treatment was not medically necessary.

27. In a letter dated September 22, 2016, Steve and Kelly appealed the denied claim. They

   submitted detailed information from a long list of Jane’s clinicians, from before the time




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   Jane started treatment, as well as records during her treatment at La Europa, to show that

   her treatment was medically necessary.

28. In response to Steve and Kelly’s appeal, BCBSMA changed their basis for denial.

   BCBSMA asserted for the first time in its October 31, 2016, letter that it had made a

   mistake and that it would pay nothing for the La Europa treatment because irrespective of

   medical necessity issues, “no benefits are available on your health plan for this type of

   provider, even when it is medically necessary.” (Emphasis added).

29. BCBSMA wrote in part:

           …Upon review of your appeal, we have determined that our earlier
           clinical denial was issued because we believed at that time that the
           service was an acute residential admission, so that was why we
           reviewed the request against the criteria for acute residential
           psychiatric stays.

           During the member appeal process, our doctor determined that this
           does not appear to be a request for acute residential psychiatric
           stay, but is an intermediate residential facility with subacute
           treatment, which is not a covered type of provider on your health
           plan…

           [A]fter considering her situation, the doctor has denied coverage
           because the subacute residential treatment is not a covered type of
           service on your health plan.

30. Steve and Kelly, on behalf of themselves and Jane, attempted to appeal BCBSMA’s final

   denial in a letter dated March 21, 2017. They quoted the language of the Plan documents

   stating that “intermediate treatment” for mental health and substance abuse treatment was

   covered. They went on to argue that BCBSMA’s application of the “acute” residential

   treatment limitation violated MHPAEA and the insurance policy.

31. Steve and Kelly pointed out in their March 21, 2017, letter that the Plan covered other

   intermediate sub-acute inpatient levels of care for medical or surgical conditions such as




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   skilled nursing facilities and rehabilitation treatment and that these were levels of care for

   medical or surgical treatment that were analogous to residential treatment for mental

   health and substance use disorders at facilities such as La Europa.

32. Steve and Kelly also provided a copy of the license issued for La Europa by the Utah

   State Department of Human Services showing that La Europa was licensed as a

   “Residential Treatment” facility for youth from ages 14 through 17 during the time Jane

   was treated.

33. BCBSMA never responded to Steve and Kelly’s attempt at a second appeal in writing. A

   representative from BCBSMA called Steve and Kelly and told them BCBSMA would not

   be responding to the second appeal. In addition, in accordance with its change of position

   between the initial claim decision and the final appeal decision, BCBSMA never paid for

   the first sixteen days of Jane’s treatment since La Europa was deemed to be “subacute

   residential treatment” that was not covered “even when it is medically necessary.”

34. Over the ten and a half month period she received medically necessary treatment at La

   Europa, Jane experienced great progress and has become more functional.

35. Steve and Kelly paid in excess of $185,000 for Jane’s treatment at La Europa that

   BCBSMA should have paid but refused to pay.

36. Steve and Kelly, on behalf of themselves and their daughter Jane, exhausted their pre-

   litigation appeals as required under the Plan and ERISA.


                                CLASS ALLEGATIONS


37. BCBSMA’s systematic practice of denying coverage for inpatient intermediate

   residential treatment on the basis that only “acute residential treatment” is covered

   violates the terms of the ERISA governed Class Policies as well as the MHPAEA.


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38. As a result of these actions, BCBSMA systematically and improperly denies coverage for

   mental health treatment in residential treatment facilities under the BCBSMA ERISA

   governed Class Policies.

39. BCBSMA's systematic actions in violation of MHPAEA, ERISA and the terms of the

   Class Policies, as outlined above, are breaches of its fiduciary duties to the participants

   and their beneficiaries found at 29 U.S.C. §§ 1104(a)(1)(A) and (a)(1)(D).

40. In addition to Plaintiffs, on information and belief, more than 100 insureds under

   BCBSMA ERISA health insurance policies have had mental health residential treatment

   claims improperly denied based on BCBSMA’s limitation of inpatient intermediate

   residential treatment to only “acute residential treatment” to the exclusion of sub-acute

   treatment. Thousands more are generally insured under BCBSMA ERISA governed

   health insurance Class Policies and, absent Court intervention, will face BCBSMA’s

   improper actions if they are to file a claim in the future.

41. Plaintiffs seek certification of the following two classes under F.R.C.P 23(b)(1) and

   (b)(2):


Class I: All current BCBSMA ERISA governed health insurance beneficiaries covered by a

health insurance policy that contains this same or similar language:


             Intermediate Treatments
             There may be times when you will need medically necessary care that is more
             intensive than typical outpatient care. But, you do not need 24-hour inpatient
             hospital care. This “intermediate” care may include (but is not limited to):

            Acute residential treatment. Your coverage for this treatment is considered to be
             an inpatient benefit. During the inpatient pre-service review process (see Part 4),
             Blue Cross Blue Shield HMO Blue will assess your specific health care needs. The
             least intensive type of setting that is required for your mental condition will be
             approved by Blue Cross Blue Shield HMO Blue.



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          Partial hospital programs or intensive outpatient programs. Your coverage for
           these programs is considered to be an outpatient benefit.
Class II: All former or current BCBSMA ERISA governed health insurance beneficiaries

who are, or were, covered by a health insurance policy that contains this same or similar

language, and who had a claim for mental health residential treatment denied on the basis, at

least in part, that the treatment provided was not “acute residential treatment” and/or was

sub-acute treatment:


           Intermediate Treatments
           There may be times when you will need medically necessary care that is more
           intensive than typical outpatient care. But, you do not need 24-hour inpatient
           hospital care. This “intermediate” care may include (but is not limited to):

          Acute residential treatment. Your coverage for this treatment is considered to be
           an inpatient benefit. During the inpatient pre-service review process (see Part 4),
           Blue Cross Blue Shield HMO Blue will assess your specific health care needs. The
           least intensive type of setting that is required for your mental condition will be
           approved by Blue Cross Blue Shield HMO Blue.
          Partial hospital programs or intensive outpatient programs. Your coverage for
           these programs is considered to be an outpatient benefit.

42. Class I seeks declaratory relief and an injunction preventing BCBSMA from engaging in

   the complained of conduct from the date of the injunction.

43. Class II seeks declaratory relief and an injunction requiring BCBSMA to reprocess class

   members’ claims in accordance with the terms of the Class Policies and the MHPAEA.

44. The proposed class action is appropriate for certification under F.R.C.P. 23(a)(1), because

   the tens of thousands who are covered by BCBSMA ERISA governed Class Policies, and

   the estimated hundred or more who have faced improper denials as alleged herein, is so

   numerous that joinder of each of the individuals as a plaintiff is impractical.

45. The proposed class action is appropriate for certification under F.R.C.P. 23(a)(2), because

   there are questions of law or fact that are common to the class, namely, whether



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   BCBSMA’s categorical denial of inpatient intermediate mental health residential

   treatment claims on the basis that only “acute residential treatment” is covered to the

   exclusion of sub-acute treatment, is correct under the Class Policies and/or lawful under

   MHPAEA.

46. Certification of a class action is proper under F.R.C.P. 23(a)(3) because the claims of the

   Plaintiffs are typical of the members of the proposed class in that the basis for Jane’s

   denial for treatment at La Europa was because, “La Europa Academy is not a covered

   type of provider on your plan…Specifically, after considering her situation, the doctor

   has denied coverage because the subacute residential treatment is not a covered type of

   service on your health plan.” BCBSMA also clarified that medical necessity is not a

   consideration, noting, “no benefits are available on your health plan for this type of

   provider, even when it is medically necessary.”

47. The prerequisite for class action certification identified at F.R.C.P. 23(a)(4) is met in this

   case, because the named representatives of the proposed class will fairly and adequately

   protect the interest of the proposed class and Plaintiffs’ counsel has adequate experience

   and background in both health insurance litigation and consumer class action litigation to

   represent the proposed class.

48. Certification of a class action under F.R.C.P. 23(b)(1) is proper, because prosecution of

   separate actions by all the individual members of the proposed class would create a risk

   of inconsistent and varying adjudication with respect to the individuals that would result

   in incompatible standards of conduct for BCBSMA. For example, if one reviewing court

   were to decide that BCBSMA’s insistence that only “acute residential treatment” is

   covered under the inpatient intermediate mental health residential treatment benefit, and a




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   different reviewing court were to decide the opposite, BCBSMA would be facing wholly

   incompatible standards of conduct when trying to decide an inpatient intermediate mental

   health residential treatment claim.

49. Similarly, certification of a class action under F.R.C.P. 23(b)(1) is also proper, because if

   this Court were to only issue a decision on the legal issue raised in Plaintiffs’ claim on an

   individual basis, it would be dispositive of the interests of the other members not parties

   to the individual adjudication or would substantially impair or impede their ability to

   protect their interests since legal precedent would be created on the interpretation of

   policy language common to all class members.

50. Certification of a class action under F.R.C. P. 23(b)(2) is also appropriate, because

   BCBSMA’s uniform practice of denying inpatient intermediate mental health residential

   treatment claims in sub-acute residential treatment facilities applies generally to the class

   making final injunctive or declaratory relief appropriate respecting the class as a whole.


                               FIRST CAUSE OF ACTION

           (Claim for Recovery of Benefits Under 29 U.S.C. §1132(a)(1)(B))

51. Plaintiffs incorporate by reference all allegations above as if fully set forth herein.

52. ERISA imposes higher-than-marketplace quality standards on insurers and plan

   administrators. It sets forth a special standard of care upon plan fiduciaries such as

   BCBSMA, acting as agent of an ERISA plan, to “discharge [its] duties in respect to

   claims processing solely in the interests of the participants and beneficiaries” of the

   ERISA plan. 29 U.S.C. §1104(a)(1).

53. BCBSMA violated the terms of the plan document by denying coverage for inpatient

   intermediate residential treatment for mental health and substance use disorders in sub-



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   acute settings irrespective of medical necessity, BCBSMA is disregarding the

   requirement that the Class Policies both comply with MHPAEA and cover medically

   necessary intermediate inpatient treatments in accordance with generally accepted

   standards of professional medical practice.

54. ERISA underscores the particular importance of accurate claims processing and

   evaluation by requiring that administrators provide a “full and fair review” of claim

   denials and to engage in a meaningful dialogue with the Plaintiffs in the pre-litigation

   appeal process, which BCBSMA has not done by relying on its categorical exclusion of

   sub-acute mental health residential treatment claims. 29 U.S.C. §1133(2).

55. BCBSMA also breached their fiduciary duties to the Plaintiffs when they failed to

   comply with their obligations under 29 U.S.C. §1104 and 29 U.S.C. §1133 to act solely

   in the Plaintiffs’ interest and for the exclusive purpose of providing benefits to ERISA

   participants and beneficiaries in accordance with the terms of the plan document and to

   provide a full and fair review of the Plaintiffs’ claims.

56. In addition to Plaintiffs’ claims, BCBSMA violates the terms of the Class Policies for all

   proposed class members when it systemically denies all sub-acute mental health

   residential treatment claims.


                             SECOND CAUSE OF ACTION

           (Claim for Violation of MHPAEA Under 29 U.S.C. §1132(a)(3))


57. Plaintiffs incorporate by reference all allegations above as if fully set forth herein.

58. MHPAEA is incorporated into ERISA and is enforceable by ERISA participants and

   beneficiaries as a requirement of both ERISA and MHPAEA.




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59. In general MHPAEA requires ERISA plans to provide no less generous coverage for

   treatment of mental health and substance use disorders than ERISA plan provide for

   treatment of medical or surgical disorders.

60. Specifically, MHPAEA prohibits ERISA plans from imposing treatment limitations on

   mental health or substance use disorder benefits that are more restrictive than the

   predominant treatment limitations applied to substantially all medical or surgical benefits

   and also make unlawful separate treatment limitations that are applicable only with

   respect to mental health or substance use disorder benefits. 29 U.S.C.§1185a(a)(3)(A)(ii).

61. Impermissible nonquantitative treatment limitations under MHPAEA include, but are not

   limited to, medical management standards limiting or excluding benefits based on

   medical necessity, restrictions based on geographic location, facility type, provider

   specialty, and other criteria that limit the scope or duration of benefits for mental health

   or substance use disorder treatment. 29 C.F.R. §2590.712(c)(4)(ii)(A) and (H).

62. Comparable benefits offered by the Class Policies for intermediate medical or surgical

   treatment analogous to the benefits the Class Policies excluded for Jane’s treatment (and

   the similar excluded treatments of all proposed class members) include sub-acute

   inpatient treatment settings such as skilled nursing facilities, inpatient hospice care, and

   rehabilitation facilities. For none of these types of intermediate treatment does BCBSMA

   exclude coverage on the basis that only “acute” inpatient treatment stays are covered.

63. The actions of BCBSMA in only affording coverage of “acute residential treatment” to

   the exclusion of sub-acute residential treatment, when assessing mental health claims for

   inpatient intermediate treatment, violates MHPAEA because BCBSMA’s interpretation

   of the Class Policies does not similarly exclude coverage for individuals receiving




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   treatment at sub-acute inpatient facilities, such as skilled nursing facilities, for medical or

   surgical conditions.

64. In this manner, BCBSMA violates 29 C.F.R. §2590.712(c)(4)(i) because the terms of the

   Class Policies and the medical necessity criteria utilized by the Class Policies and

   BCBSMA, as written or in operation, use processes, strategies, standards, or other factors

   to limit coverage for mental health or substance use disorder treatment in a way that is

   inconsistent with, and more stringently applied, than the processes, strategies, standards

   or other factors used to limit coverage for medical/surgical treatment in the same

   classification.

65. The violations of MHPAEA by BCBSMA give the Plaintiffs and other BCBSMA

   insureds who have been likewise aggrieved, the right to obtain appropriate equitable

   remedies as provided under 29 U.S.C. §1132(a)(3) including, but not limited to:

   surcharge, estoppel, restitution, disgorgement, injunction, accounting, constructive trust,

   equitable lien, declaratory relief, unjust enrichment, and specific performance, together

   with prejudgment interest pursuant allowed by law, and attorney fees and costs pursuant

   to 29 U.S.C. §1132(g).

                                REQUEST FOR RELIEF


   WHEREFORE, Plaintiffs, on behalf themselves and the putative Class I and Class II,

pray for judgment against BCBSMA as follows:


1. For an Order certifying the proposed Classes under F.R.C.P. 23(b)(1), and (b)(2);

2. For the relief outlined in the First and Second Causes of Action as enumerated above.

3. Declaratory Relief, and an injunction prohibiting BCBSMA from continuing to violate

   the Class Policies’ language as well as the MHPAEA as detailed above.


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4. Declaratory relief and an Order requiring BCBSMA to reprocess all Class II members’

   residential treatment claims.

5. An award of costs, interest and attorneys’ fees available under law or statute including 29

   U.S.C. §1132(g).

6. For such further relief as the Court deems fair and equitable.


                                         THE PLAINTIFFS, BY THEIR ATTORNEYS,

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